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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


  TQ DELTA, LLC,

                        Plaintiff,      Civil Action No.: 2:21-cv-310

  v.

  COMMSCOPE HOLDING COMPANY,
  INC., COMMSCOPE, INC., ARRIS US
  HOLDINGS, INC., ARRIS SOLUTIONS,
  INC., ARRIS TECHNOLOGY, INC., and
  ARRIS ENTERPRISES, LLC,

                        Defendants.


   COMMSCOPE’S RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW
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 I.        INTRODUCTION

           In deciding whether TQ Delta breached its contractual obligation with the International

 Telecommunications Union (“ITU”) to grant a license on FRAND terms and conditions to

 CommScope, the jury considered whether TQ Delta violated its obligation and, if so, whether any

 damages were owed to CommScope for that violation. Because TQ Delta’s expert admitted that

 the rates TQ Delta was trying to extract from CommScope were inconsistent with FRAND, and

 because TQ Delta’s offered rates were about ten times what the jury found to be reasonable, a jury

 could have only found that TQ Delta breached its obligation. Therefore, the Court should enter

 judgment as a matter of law that TQ Delta breached its contractual obligation and should order a

 new trial limited to the question of the appropriate damages owed to CommScope for TQ Delta’s

 breach.

           The evidence presented at trial uniformly demonstrated that TQ Delta had a contractual

 obligation with the ITU to grant licenses on FRAND terms and conditions, that CommScope was

 an intended third-party beneficiary of the contract, that TQ Delta violated the contract when it

 refused to license CommScope on FRAND terms and conditions, and that CommScope suffered

 harm (in the form of business disruption and litigation costs) warranting damages. In fact, the

 jury’s own findings demonstrate that TQ Delta breached its FRAND obligation. The jury awarded

 TQ Delta patent-infringement damages in the amount of $11,250,000

                            , finding that       per unit is the “reasonable” royalty under the

 circumstances. And yet TQ Delta’s offers to CommScope were as much as ten times higher, and

 thus inconsistent with TQ Delta’s FRAND obligations. The offers to CommScope included an

 initial per-unit royalty of

           These offers, when compared to the amount deemed reasonable by this very jury,

 demonstrate that the offers were unfair, unreasonable, and discriminatory, and that TQ Delta


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 therefore unquestionably violated its FRAND obligation. For these and other reasons described

 herein, CommScope renews its motion for judgment as a matter of law that TQ Delta breached its

 FRAND obligation.

 II.    LEGAL STANDARD

        “Judgment as a matter of law is proper when ‘a reasonable jury would not have a legally

 sufficient evidentiary basis to find for the party on that issue.’” Abraham v. Alpha Chi Omega, 708

 F.3d 614, 620 (5th Cir. 2013) (quoting Fed. R. Civ. P. 50(a)). “Upon a party’s renewed motion for

 judgment as a matter of law following a jury verdict, the Court asks whether ‘the state of proof is

 such that reasonable and impartial minds could reach the conclusion the jury expressed in its

 verdict.’” Cassidian Communs., Inc. v. Microdata GIS, Inc., Civil Action No. 2:12-cv-00162-JRG,

 2014 U.S. Dist. LEXIS 110133, at *6 (E.D. Tex. Aug. 8, 2014); see also Core Wireless Licensing

 S.A.R.L. v. LG Elecs., Inc., No. 2:14-cv-911-JRG, 2016 U.S. Dist. LEXIS 112425, at *6 (E.D. Tex.

 Aug. 23, 2016). “[T]here must be more than a mere scintilla of evidence in the record to prevent

 judgment as a matter of law in favor of the movant.” Core Wireless, 2016 U.S. Dist. LEXIS

 112425, at *7 (quoting Arismendez v. Nightingale Home Health Care, Inc., 493 F.3d 602, 606 (5th

 Cir. 2007)).

 III.   ARGUMENT

        Under Texas law, a party asserting breach of contract must prove: “(1) the existence of a

 valid contract; (2) that the [party] performed or tendered performance; (3) that the other party

 breached the contract; and (4) that the party was damaged as a result of the breach.” City of Dall.

 v. Delta Air Lines, Inc., 847 F.3d 279, 287 (5th Cir. 2017) (citing Cordero v. Avon Products., Inc.,

 629 Fed. Appx. 620, 623 (5th Cir. 2015)). As shown below, CommScope demonstrated at trial that

 each and every element of its breach of contract claim was met, and a reasonable jury could not

 have found otherwise.


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         A.      TQ Delta’s Contract with the ITU

        In its contract with the ITU, TQ Delta promised that it would “grant a license to an

 unrestricted number of applicants on a worldwide, non-discriminatory basis and on reasonable

 terms and conditions to make, use, and sell implementations of the” ITU-T Recommendation. See,

 e.g., Ex. 68 at 2. TQ Delta contractually bound itself to this obligation through its own undertaking

 directly with the ITU, thus committing to FRAND obligations for the Asserted Patents.1 See id.

 Moreover, TQ Delta knew that the entity from whom it had purchased the Asserted Patents, Aware,

 Inc., had previously entered into an identical contractual obligation with the ITU. See Ex. 81 at

 114 (Aware reporting “FRAND License Obligations”; “Participated in ITU DSL standards setting

 body – FRAND obligation”); Tr. Vol. 2, Dkt. No. 528 at 77:21–78:25. Acting on its contractual

 obligation, Aware entered into multiple license agreements that set the operative FRAND terms

 for Aware’s patent portfolio, which included the Asserted Patents. See Ex. 81 at 114 (identifying

 and summarizing “Existing Licenses”). As an example, in one of Aware’s FRAND licenses,

 Aware granted

                                                          . Id.; Tr. Vol. 2, Dkt. No. 528 at 92:8–20,

 98:3–7. Prior to selling the Asserted Patents to TQ Delta, and as part of the parties’ discussions

 about that sale, Aware expressly disclosed the existing FRAND licenses and ITU obligations to

 TQ Delta. Ex. 81 at 114; Tr. Vol. 2, Dkt. No. 528 at 78:24–25. Thus, when TQ Delta purchased

 the patent portfolio, it inherited the FRAND obligations and the existing licenses reflecting those

 obligations. And as noted earlier, TQ Delta doubled down on that commitment by signing its own

 obligation with the ITU. See, e.g., Ex. 68 at 2.



 1
   U.S. Patent No. 7,570,686 (“’686 Patent”); U.S. Patent No. 7,453,881 (“’881 Patent”); U.S.
 Patent No. 8,276,048 (“’048 Patent”); U.S. Patent No. 8,090,008 (“’008 Patent”); U.S. Patent No.
 8,462,835 (“’835 Patent”); U.S. Patent No. 8,468,411 (“’411 Patent”); and U.S. Patent No.

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          B.       TQ Delta Breached Its FRAND Obligation

                  1.     TQ Delta’s Existing Licenses

         Despite being obligated to offer FRAND licenses, and despite Aware’s existing FRAND

 licenses,2 TQ Delta published its own, higher FRAND royalty rates of $0.60 to $3.10 per licensed

 product per standard (depending on the number of standards incorporated into each licensed

 product), averaging to about $1.85 per product. Ex. 74. Based on this supposed “standard rate,”

 TQ Delta then entered into licenses with



                                                                              See Exs. 36-A, 36-B,

 37, 38-A, 38-B, 40; Tr. Vol. 2, Dkt. No. 528 at 99:1–102:2, 110:6–114:2, 122:22–124:8, 128:1–

 132:7. TQ Delta attempted to portray those licenses as involving a $1.85 rate, but as the evidence

 showed, TQ Delta in fact offered the licensees substantial discounts (or “adjustments” as termed

 by TQ Delta)

                                                                                                Tr.

 Vol. 2, Dkt. No. 528 at 115:15–116:23, 117:21–7. These discounts or adjustments resulted in a

 per-unit effective rate of                                                                    . Tr.

 Vol. 2, Dkt. No. 528 at 105:18–20, 120:8–121:4; Tr. Vol. 5, Dkt. No. 533 at 153:10–155:9. The

 jury’s award of a per-unit effective rate           for CommScope is consistent with the average

 per-unit rates                                          .



 9,154,354 (“’354 Patent”). The parties have stipulated that the ’048 and ’411 Patents are not
 standard essential and therefore are not subject to the FRAND commitment.
 2
   Aware entered into FRAND licenses with                            , among others, and TQ Delta
 acquired these licenses in connection with its acquisition of the Aware patent portfolio. Ex. 65-A;
 Tr. Vol. 2, Dkt. No. 528 at 97:10–21; Tr. Vol. 5, Dkt. No. 533 at 103:13–16; see also DDX-006.42
 (showing
                                      ); Ex. 65-B; Tr. Vol. 2, Dkt. No. 528 at 92:8–20 (showing
                                                                     ).

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                 2.     TQ Delta’s Offers to CommScope

         When TQ Delta approached CommScope (prior to litigation), it offered CommScope a

 license at a rate of     per licensed product for the relevant accused standards (VDSL2, G.INP,

 and G.bond (designed to operate with VDSL2)). Ex. 124B, 135B. As summarized above,

 CommScope’s DSL equipment maker competitors all paid substantially less than                    per

 licensed product for the same standards. Tr. Vol. 4, Dkt. No. 532 at 113:4–8. Thus, prior to the

 litigation, at a time when TQ Delta was obligated to make a FRAND offer to CommScope, TQ

 Delta instead sought to commercially disadvantage CommScope by seeking to charge five times

 the alleged standard rate for the G.INP standard that CommScope’s largest competitor,

 had paid. Tr. Vol. 4, Dkt. No. 532 at 114:7–18. And worse, once litigation commenced, TQ Delta

 raised its allegedly FRAND demand to            per licensed product. Tr. Vol. 4, Dkt. No. 532 at

 112:3–8. And then during trial, TQ Delta raised its demand yet again, this time to              per

 licensed product. Tr. Vol. 4, Dkt. No. 532 at 112:19–113:3. Notably, these post-litigation offers to

 CommScope covered only the five asserted U.S. patents subject to a FRAND commitment, not the

 100-plus patents that TQ Delta has licensed to others at much lower rates. Tr. Vol. 2, Dkt. No. 528

 at 101:16–25.

                 3.     The Jury’s Damages Award Proves That TQ Delta’s Offers to
                        CommScope Were Not FRAND

         This Court instructed the jury to “determine a FRAND royalty based on the totality of the

 circumstances,” with “the law require[ing] that any royalty awarded to TQ Delta correspond to the

 value of the patented invention within the accused product, as distinct from other unpatented

 features or market factors.” Tr. Vol. 6, Dkt. No. 534 at 66:5–12. Further, the Court instructed the

 jury that “[y]ou must make sure that any reasonable royalty determination takes into account TQ

 Delta’s FRAND obligations.” Id. at 67:22–23.



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        TQ Delta and its damages expert, Dr. Putnam, failed to recognize that “a jury assessing

 patent infringement damages undertakes the same task of assessing whether an offered rate is

 FRAND.” HTC Corp. v. Telefonaktiebolaget LM Ericsson, 12 F.4th 476, 492 (5th Cir. 2021); see

 also Realtek Semiconductor, Corp. v. LSI Corp., No. C-12-3451-RMW, 2014 U.S. Dist. LEXIS

 81673, 2014 WL 2738226, at *6 (N.D. Cal. June 16, 2014) (“[D]etermining damages for patent

 infringement is equivalent to declaring the parties’ rights under the RAND contract.”). To the

 contrary, Dr. Putnam admitted that the rate it sought to charge CommScope for the G.INP standard

 would violate FRAND “if that were an offered license.” Tr. Vol. 4, Dkt. No. 532 at 114:23–115:4.

 TQ Delta’s mistaken assumption throughout trial was that it could back away from its FRAND

 commitment and charge CommScope non-FRAND rates for its declared-essential patent portfolio:

               Q. Do you understand, sir, that damages in this case are constrained
               by the [F]RAND obligation? Do you understand that?
               A. No, I firmly disagree with that.
               Q. Let’s be really clear here. You have done your work in this case
               under the assumption that [F]RAND does not constrain the damages
               to be awarded. Is that true?
               A. That’s right. [F]RAND is an offer to be prepared to license. That
               preparation to license has passed.
               Q. So the work you’ve done in this case, as I understand it, it has no
               ceiling and no constraint based on that [F]RAND promise that was
               made. Is that a fair statement?
               A. No, that’s completely inaccurate.
               Q. Well, what is the limit then? Is there any limit at all on what TQ
               Delta can charge to CommScope in this lawsuit?
               A. Well, the Court will instruct the jury on the law, but my
               understanding is that the law says that the royalty must be a
               reasonable royalty and adequate to compensate for the infringement.

 Tr. Vol. 4, Dkt. No. 532 at 115:2-19 (Putnam).

        Also, TQ Delta’s proposed royalty rates—ranging from                     per product—were

 not FRAND because “a jury assessing whether a SEP holder has breached its FRAND obligation



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 must determine the value of the SEP holder’s portfolio and compare that value to the offered rates.

 Valuing the portfolio requires apportionment, just as valuing a patent requires apportionment.”

 HTC, 12 F.4th at 492. “TQ Delta’s rates, totaling                      per box in some instance[s],

 would take up                                        for some of the boxes, given that some of the

 features are optional, some of the features are not standard essential, and some of the features are

 not actually used by our customers.” Tr. Vol. 3, Dkt. No. 530 at 193:16–21. TQ Delta failed to

 apportion its rates to the value of the patents, overlooked that the accused products are “subject to

 other patent pools,” and overlooked that the accused products include features beyond those

 claimed in the patents, such as WiFi and fiber connection. Tr. Vol. 5, Dkt. No. 533 at 194:6–12,

 146:19–147:6; see Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1318 (Fed. Cir. 2011)

 (“[T]he patentee . . . must in every case give evidence tending to separate or apportion … damages

 between the patented feature and the unpatented features . . . .” (internal quotation marks

 omitted)). Further, all of the accused functionality was found exclusively in the chipset. Thus,

 seeking to charge a percentage of the entire product, as opposed to a percentage of the chipset (as

 Aware’s licenses had been structured), was not FRAND.

        Tellingly, TQ Delta’s demand of a             rate is nearly ten times higher than the amount

 that the jury found to be reasonable (and TQ Delta’s demand of a            rate is higher still). The

 jury awarded TQ Delta a reasonable royalty of $11,125,000 for four patents found to be infringed.

 Dkt. No. 508. Considering the royalty base of                       of Accused Products, the jury’s

 finding results in an effective reasonable royalty of about         per product, which is about ten

 times less than TQ Delta’s demands of                         per product. Dkt. No. 513 at 1–2. The

 jury’s ultimate conclusion is consistent with the rates presented by CommScope at trial for

                     (which average to         per product). Tr. Vol. 2, Dkt. No. 528 at 105:18–20,

 120:8–121:4; Tr. Vol. 5, Dkt. No. 533 at 153:10–155:9. It is also consistent with CommScope’s

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 application of the                                                        to the Broadcom chipsets

 in the Accused Products in the present case (which resulted in a royalty rate of      per product).

 Tr. Vol. 5, Dkt. No. 533 at 104:16–19, DDX-006.43-45. Thus, the jury’s verdict itself (and

 specifically the jury’s finding of a “reasonable” royalty of about       per product) demonstrates

 that TQ Delta’s offers to CommScope were not reasonable, and therefore not FRAND—meaning

 that TQ Delta breached its contract with the ITU.

           C.      CommScope Suffered Harm as a Result of TQ Delta’s Breach

           CommScope proved that TQ Delta’s breach harmed CommScope. If TQ Delta had made a

 FRAND offer to CommScope for its declared-essential patent portfolio, CommScope could have

 accepted that offer and there would have been no need for this litigation. Indeed, Mr. Wauters

 testified that CommScope actively made its own FRAND offers to try to negotiate and rid itself of

 the business disruptions caused by the litigation. Tr. Vol. 2, Dkt. No. 528 at 283:11–23.3 TQ

 Delta’s breach of its FRAND commitments directly caused harm to CommScope, including costs

 in business disruption and sales lost to competitors.

 IV.       CONCLUSION

           The Court should grant judgment as a matter of law that TQ Delta breached its contractual

 obligations with the ITU, causing damage to CommScope. The Court should additionally grant a

 new trial limited to the question of the appropriate damages owed to CommScope for TQ Delta’s

 breach.




 3
  TQ Delta’s own valuation reports take into account the immense costs associated with litigation.
 Ex. 78 at 6-7.

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  Dated this 31st day of May, 2023     Respectfully submitted,

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                               CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel on May

 31, 2023.

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